                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                      3:05-cr-390


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
DEMETRIUS SHAWNDALE RUDISILL (5)         )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence based on the retroactive amendments to the United States Sentencing Guidelines relating

to crack cocaine triggered by the Fair Sentencing Act of 2010. (Doc. No. 458).

       The Court previously reduced the defendant’s sentence to 120 months based on earlier

amendments to the guidelines. (Doc. No. 369: Order). As counsel recognizes in the instant

motion, the statutory mandatory minimum sentence applicable to the defendant’s offense prevents

any further reduction. USSG §1B1.10 comment. (n.1(A)).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                 Signed: January 17, 2012




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